                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                                   Nos. 3:06-CR-74-3-BR
                                                        3:06-CR-403-BR

UNITED STATES OF AMERICA,                         )
                                                  )
              v.                                  )              ORDER
                                                  )
                                                  )
SAMUEL THOMAS CURRIN                              )
                                                  )


       The government is DIRECTED to file a written response to defendant’s motion for variance

sentence on or before noon 31 August 2007.

       This 27 August 2007.




                                             __________________________________
                                                   W. Earl Britt
                                                   Senior U.S. District Judge




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